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 1
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 5

 6   ATTORNEY FOR Defendant,
     ROBERT MURGUIA MARTINEZ
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                ******
11   UNITED STATES OF AMERICA,                          Case No.: 1:13-CR-00077-001 LJO
12
                    Plaintiff,                          STIPULATION AND ORDER TO
13                                                      CONTINUE SENTENCING
            v.
14                                                      Date: April 27, 2015
     ROBERT MURGUIA MARTINEZ,
15                                                      Time: 8:30 a.m.
                    Defendant.                          Courtroom: 4
16                                                      Hon. Lawrence J. O’Neill

17          Defendant, ROBERT MURGUIA MARTINEZ, by and through his attorney of record,
18   Anthony P. Capozzi and the United States Attorney by and through Kimberly A. Sanchez,
19   hereby stipulate as follows:
20          1. By previous order, this matter was set for sentencing on April 27, 2015, at 8:30 a.m.
21          2. The parties agree and stipulate that Defendant requests this court to continue the
22   sentencing until June 15, 2015, at 8:30 a.m.
23          3. Additionally, the parties agree and stipulate, and request that the Court find the
24   following:
25                  a. The Defendant pled guilty on November 3, 2014. Ongoing negotiations have
26          been taking place between the Government and the Defendant.
27                  b. Mr. Martinez was referred to UCSF Medical Center on March 24, 2015, for
28          consultation and evaluation pertaining to a serious heart condition. His appointment is
                                                     1
                         STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                       CASE NO.: 1:13-CR-00077-LJO
     Case 1:13-cr-00077-LJO-BAM Document 144 Filed 04/08/15 Page 2 of 2
 1          scheduled for May 11, 2015, at 10:00 a.m.

 2                 c. The parties request that Informal Objections be filed on May 26, 2015, and

 3          Formal Objections be filed on June 8, 2015.

 4                 d. The Government does not object to this continuance.

 5   IT IS SO STIPULATED.

 6                                            Respectfully submitted,

 7    DATED:        April 7, 2015       By: /s/ Kimberly A. Sanchez
                                            KIMBERLY A. SANCHEZ
 8                                          United States Attorney
 9

10

11    DATED:        April 7, 2015       By: /s/Anthony P. Capozzi
                                            ANTHONY P. CAPOZZI
12                                          Attorney for Defendant ROBERT MURGUIA
                                            MARTINEZ
13

14

15
                                                ORDER
16
            For reasons set forth above, the continuance requested by the parties is granted for
17
     good cause.
18
            The sentencing currently scheduled for April 27, 2015, at 8:30 a.m. is continued to
19
     June 15, 2015, at 8:30 a.m. and the Informal Objections be filed on May 26, 2015, and
20
     Formal Objections be filed on June 8, 2015.
21

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23   IT IS SO ORDERED.

24      Dated:     April 8, 2015                            /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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                        STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                      CASE NO.: 1:13-CR-00077-LJO
